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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA

                     CASE NO. 21-60020-CR-DIMITROULEAS/SNOW


   UNITED STATES OF AMERICA

   vs.

   JONATHAN MARKOVICH,
   RICHARD WASERSTEIN,
   DANIEL MARKOVICH,
   CHRISTOPHER GARNTO,
   JOSE SANTEIRO,
   DREW LIEBERMAN,
   MARIO KUSTURA, and
   FRANK BOSCH, JR.,

               Defendants.
   ______________________________________/

          RICHARD WASERSTEIN’S MOTION TO SEVER DEFENDANTS

          Richard Waserstein, through counsel, and pursuant to Fed. R. Crim. P. 14, the

   Due Process Clause of the Fifth Amendment, the Compulsory Process Clause of the

   Sixth Amendment, and Byrd v. Wainwright, 428 F.2d 1017 (5th Cir. 1970), respectfully

   moves this Court to sever his trial from the trial of the other Defendants.

          This severance is necessitated by the fact that at least two of the other

   Defendants are essential defense witnesses for Mr. Waserstein. Jonathan Markovich

   and Daniel Markovich, both of whom are brothers-in-law to Mr. Waserstein, possess

   information critical to Mr. Waserstein’s defense, and may be available to testify if Mr.

   Waserstein is tried separately, but will likely not be available to testify at a joint trial

   because they would likely invoke their right to silence under the 5th Amendment.




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             When this situation arises, especially in cases like this one involving close family

   members, severances are frequently granted. See, e.g., Kerri and Brian Kaley, 07-cr-

   80021-Gayles, Docs. 468 and 469 (severing defendants so that one spouse could testify

   at second trial of other spouse); Charles and Tamar Nissenbaum, 16-cr-20333-Cooke,

   Doc. 71 (granting the motion to sever defendants so that husband could testify at wife’s

   trial).

             Finally, this case also involves 8 defendants. A joint trial with 8 defendants will

   present logistic difficulties even after the worst of the virus passes and jury trials

   resume. Accordingly, granting the motion to sever presents the added bonus of helping

   to solve this logistic issue.

                       BACKGROUND AND STATEMENT OF FACTS

             On January 19, 2021, the Government filed a 35-count Indictment charging

   various health care, kickback, and money laundering charges related to the operation

   of substance abuse treatment facilities. Of the 8 defendants, seven were charged in

   the health care and/or kickback counts, but Richard Waserstein was charged only with

   conspiracy to commit money laundering and money laundering (Counts 24-27 and 29-

   32). He was not charged in connection with any underlying criminal activity.

             And for good reason. Although Mr. Waserstein was a co-owner of the companies

   that operated the treatment facilities, he did not participate in the day-to-day

   operation of the facilities, did not spend time at the facilities, and took no part in the

   alleged actions giving rise to the Government’s health care and kickback charges. His

   responsibilities were limited to investing – that was it. In the operating agreement, Mr.




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   Waserstein’s only duty or obligation to the partnership was to invest money, which he

   did as a silent partner.

          Despite Mr. Waserstein’s lack of involvement in any of the 23 counts of alleged

   healthcare fraud or payment of kickbacks or 2 counts of bank fraud, the Government

   seeks to try him in a joint trial with the other Defendants. Because his primary

   witnesses are his co-Defendants, this trial structure will cause Mr. Waserstein

   substantial prejudice, as set forth below.

                      ARGUMENT AND MEMORANDUM OF LAW

          Richard Waserstein’s trial should be severed from that of the other Defendants,

   in particular Jonathan and Daniel Markovich (the “Markovichs”). Mr. Waserstein’s

   defense in this case is that he had little to no personal knowledge of the day to day

   operations of the business, and no knowledge of any underlying criminal activity.

   Without knowledge or participation in a specified unlawful activity, it is impossible as

   a matter of law to find him guilty of money laundering.                 See 18 U.S.C. §§

   1956(a)(1)(B)(i) and 1957(a).

          The strongest exculpatory evidence to demonstrate Mr. Waserstein’s innocence

   is the testimony of the Markovichs, who have firsthand knowledge that Mr. Waserstein

   simply was not involved in the matters giving rise to the health care fraud, kickback

   charges, and bank fraud. They have indicated their willingness to offer this testimony

   if Mr. Waserstein is tried separately after their trial, but will likely exercise their Fifth

   Amendment against self-incrimination in a joint trial. In other words, should this

   matter proceed to a joint trial as scheduled, Mr. Waserstein will have no avenue by




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   which to compel the exculpatory, albeit protected, testimony of the Markovichs.

   Without the benefit of this testimony, Mr. Waserstein will be deprived of the rights

   guaranteed to him by the Fifth and Sixth Amendments to the Constitution (including

   the right to due process of law, to a fair trial, and to compel witnesses to testify in his

   defense).

          A.     GENERAL PRINCIPLES

          The right to present relevant evidence is “a fundamental element of due process

   of law.” Taylor v. Illinois, 484 U.S. 400, 409 (1988) (quoting Washington v. Texas, 388

   U.S. 14, 19 (1967)). The essential right secured to a criminal defendant by the due

   process clause is “the right to a fair opportunity to defend against the [prosecution’s]

   accusations.” Chambers v. Mississippi, 410 U.S. 284, 294 (1973); see also United States

   v. Cohen, 888 F.2d 770, 777 (11th Cir. 1989) (“The trial court’s discretion does not

   extend to exclusion of crucial relevant evidence.”). Of all the ways that the accused

   might defend against such accusations, “[f]ew rights are more fundamental than that

   of an accused to present witnesses in his own defense.” Chambers, 410 U.S. at 302. In

   both Chambers and Taylor, the Supreme Court found it to be a fundamental breach of

   due process and of the right to a fair trial for the trial court to preclude the defendant,

   based on procedural or evidentiary rules, from calling his witnesses to the stand.

          The primary constitutional guarantor of the criminal defendant’s right to secure

   the attendance of witnesses at trial is the Sixth Amendment right of compulsory

   process.

          The right to offer the testimony of witnesses, and to compel their
          attendance, if necessary, is in plain terms the right to present a defense,



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         the right to present the defendant’s version of the facts as well as the
         prosecution’s to the jury so it may decide where the truth lies. Just as
         an accused has the right to confront the prosecution’s witnesses
         for the purpose of challenging their testimony, he has the right
         to present his own witnesses to establish a defense. This right is
         a fundamental element of due process of law.

         Washington, 388 U.S. at 19 (emphasis added); see also United States v. Nixon,

   418 U.S. 683, 709 (1974) (“To ensure that justice is done, it is imperative to the

   function of courts that compulsory process be available for the production of evidence

   needed either by the prosecution or by the defense.”). In Washington, the Supreme

   Court struck down a state law that prevented the defendant from calling a witness,

   who was otherwise willing to appear and to testify, simply because that witness also

   had been charged with the same crime. Id at 23.

         To ensure that joinder of defendants under Fed. R. Crim. P. 8(b) does not

   prevent defendants from presenting relevant exculpatory testimony, the Eleventh

   Circuit has fashioned an analysis to determine if the defendant seeking testimony from

   a co-defendant is entitled to a severance under Fed. R. Crim. P. 14. This Rule provides:

         If it appears that a defendant or the government is prejudiced by a
         joinder of offenses or of defendants in an indictment or information or by
         such joinder for trial together, the court may... grant a severance of
         defendants or provide whatever other relief justice requires.

         In what the Eleventh Circuit has since described as “the seminal case on this

   issue,” see United States v. DiBernardo, 880 F.2d 1216, 1226 (11th Cir. 1989), the

   former Fifth Circuit set forth the standard for addressing a defendant’s right to a

   severance based on the need for a co-defendant’s exculpatory testimony. Byrd, 428 F.2d

   at 1019-20. In Byrd, a defendant in a state court rape case had sought a severance from




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   his co-defendants in order to produce their testimony that he had not been involved in

   the rape. Id. at 1018. The state court denied this motion, and the defendant was

   convicted. Id. The district court granted the defendant’s habeas corpus petition, finding

   that the denial of the severance motion violated due process. Id. The Fifth Circuit

   affirmed. Byrd, 428 F.2d at 1019-20 (footnotes omitted); accord Tifford v. Wainwright,

   588 F.2d 954, 956-57 (5th Cir. 1979).

         In fashioning this analysis, the Byrd court relied in large measure on the

   Seventh Circuit’s decision in United States v. Echeles, 352 F.2d 892 (7th Cir. 1965). In

   that case, the court held that the right to a fair trial “necessitated providing [the

   defendant] the opportunity of getting the [exculpatory] evidence before the jury,

   regardless of how we might regard the credibility of that witness or the weight of his

   testimony.” Echeles, 352 F.2d at 898 (emphasis in original).

         Following Byrd, courts employ a two-part test, each part directing the trial court

   to weigh four factors. The first part of the test determines if the defendant will be

   prejudiced if denied the co-defendant’s proffered testimony. To satisfy this portion of

   the test, the defendant must demonstrate:

                (1) a bona fide need for the co-defendant’s testimony; (2) the
                substance of the desired testimony; (3) the exculpatory
                nature and effect of the desired testimony; and (4) that the
                co-defendant will in fact testify at a separate trial.

         See United States v. Cobb, 185 F.3d 1193, 1197 (11th Cir. 1999); accord United

   States v. Browne, 505 F.3d 1229, 1269 (11th Cir. 2007); DiBernardo, 880 F.2d at 1228;

   United States v. Machado, 804 F.2d 1537, 1544 (11th Cir. 1986).

         Once the defendant has satisfied the first part of this test, the court is to



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   determine the propriety of severance by weighing four additional factors:

          (1) the significance of the testimony in relation to the defendant’s theory
          of the case, (2) the extent of the prejudice caused by the absence of the
          testimony, (3) the effect of severance on judicial economy and the
          administration of justice, and (4) the timeliness of the motion.

   Cobb, 185 F.3d at 1197; accord Browne, 505 F.3d at 1269; DiBernardo, 880 F.2d at

   1228; Machado, 804 F.2d at 1544.

          B.     THE BYRD TEST COMPELS SEVERING RICHARD
                 WASERSTEIN’S TRIAL FROM THAT OF HIS CO-DEFENDANTS.

          Both parts of the Byrd analysis are easily satisfied in this case, given that the

   Markovichs’ testimony is critical to Mr. Waserstein’s defense and can only be obtained

   if he is tried separately.

                 1.     The Importance of the Markovichs’ Testimony: The First
                        Four Factors

                        a.      Factors one through Three:

                                The Bona Fide Need for, Substance of, and
                                Exculpatory Nature and Effect of the Testimony.

          “[T]he issue of the [witness’s] knowledge of [the defendant’s alleged] criminal

   activities [is] central to the crimes charged by the indictment, and . . . essential to

   rebut the prosecution’s proof on this crucial issue.” Tifford, 588 at 957.

          Richard Waserstein’s defense turns in large part on his minimal involvement in

   the companies in which he invested–proof of which can be provided through the

   testimony of Jonathan and Daniel Markovich. As the Indictment makes clear, all of

   the charges against Mr. Waserstein require the Government to prove not only that he

   engaged in a financial transaction involving the proceeds of specified unlawful activity,




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   but that he did so “knowing that the property involved in the financial transaction

   represented the proceeds of some form of unlawful activity, and knowing that the

   transaction was designed in whole and in part to conceal and disguise the nature, the

   location, the couce, and the control of the proceeds of specified unlawful activity.” See

   Indictment at 33-34; 35-37.

         To the extent there was underlying specified unlawful activity by other

   Defendants in the form of health care fraud or paying and receiving kickbacks,

   Waserstein had no knowledge of this activity. The best, and perhaps the only, way he

   can establish this defense is through the testimony of the Markovichs. It is this

   testimony that will establish that Mr. Waserstein was only involved in the financial

   aspects of the business and had no role in or knowledge of the day-to-day operations

   of the business.

         Thus this case easily satisfies the first three factors of the first Byrd inquiry.

                       b.     The Likelihood that the Markovichs Will Testify in a
                              Separate Trial

         As to the fourth factor, the Markovichs will testify for Mr. Waserstein if he is

   tried in a later, separate trial. In Byrd, the former Fifth Circuit indicated that

   severance may be denied where the likelihood that the defendant would testify is no

   more than “a gleam of possibility in the defendant’s eye.” 428 F.2d at 1022; cf. United

   States v. Shuford, 454 F.2d 772, 778 (4th Cir. 1971) (defendant must establish a

   reasonable probability that the co-defendant would testify). That is unquestionably not

   the case here. Here there is abundantly more than a “gleam”. In fact, the Markovichs,

   through counsel, have advised that, although they may decline to testify at their own



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   or a joint trial, they will testify at a later, separate trial for Waserstein.

          These are not ordinary co-defendants; they are close family members. Mr.

   Waserstein has been married to Jonathan and Daniel’s sister for 12 years; and have

   been close since the two began dating in 2003–18 years and counting. Two children

   were born of the relationship. As to the tight-knit nature of the Waserstein-Markovich

   family, Jonathan and Daniel Markovich live two blocks away from Mr. Waserstein and

   his wife. The families spend 90% (or more) of Sabbat dinners together, and all Jewish

   holidays together. Suffice to say, the families are almost inseparable. Given the

   relationship, the Markovichs’ expression of willingness to testify is reliable and a

   sufficient basis to support severance.

                 2.     Why Severance is Appropriate: The Second Four Factors

          The appropriateness of severance in this case is demonstrated by the

   significance of the Markovichs’ anticipated testimony, the extent to which the defense

   will be prejudiced if his testimony is lost, the timeliness of this motion, and the

   minimal adverse impact a severance would have on the interests of the judicial

   economy.

                        a.     The Significance of the Markovichs’ Testimony to the
                               Theory of Defense

          As explained above, the Government’s theory is that Richard Waserstein

   knowingly participated and engaged in a conspiracy to commit money laundering with

   Jonathan Markovich and that he laundered money derived from the criminal actions

   of one or more Defendants. The Markovichs’ testimony would directly contradict the

   Government’s theory and explain how Richard Waserstein was kept in the dark as to



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   the business activities of the treatment centers. The testimony is “peculiarly within

   the knowledge” of the Markovichs and is particularly significant to the theory of

   defense. See DiBernardo, 880 F.2d at 1228.

         Where, as here, the Markovichs “[were] the only person[s] involved in certain

   aspects of the activities charged as criminal, [t]estimony concerning [their] knowledge

   of the events would provide more convincing evidence than protestations of ignorance

   by [Richard Waserstein].” DiBernardo, 880 F.2d at 1228. “[T]he issue of [the

   Markovich’s] knowledge of [Richard Waserstein’s alleged] criminal activities [is]

   central to the crimes charged by the indictment, and [the Markovich’s] testimony [is]

   essential to rebut the prosecution’s proof on this crucial issue.” Tifford, 588 at 957.

                       b.     The Extent of Prejudice if Severance is Denied

         As the Eleventh Circuit case law makes clear, only a severance can make the

   Markovichs available as a witness for Richard Waserstein, given his intention to

   exercise his right to remain silent at a joint trial. So, absent a severance, Richard

   Waserstein will be deprived of the Markovich’s testimony at trial. This will result in

   extreme prejudice because Markovich’s testimony is unquestionably the most

   significant evidence Richard Waserstein will present in his defense.

         Because the Markovichs’ testimony will only be available to Mr. Waserstein if

   a severance is granted, and their testimony will form the cornerstone of his defense,

   Mr. Waserstein would experience extreme prejudice if a severance is denied.

                       c.     The Interests of Judicial Economy

         In a joint trial on the current Indictment, lengthy and extensive testimony as




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   to 25 counts on which Waserstein is not charged will take place. By the Government’s

   estimate the trial will take 4 weeks with a number of defendants and their lawyers

   packed into a small courtroom during the pandemic. It makes practical sense to split

   up the trial into small pieces.

         The testimony and evidence against Mr. Waserstein amounts to a small

   percentage of the Government’s case. Thus, although some effort and expense to the

   Court and Government may result from a severance, where a severance motion is

   timely filed and the need for the co-defendant’s testimony is compelling, the interests

   of judicial economy are less consequential. (This is especially true because of the

   pandemic where it does not make sense to have a joint trial with a large group of

   defendants). As the Eleventh Circuit has observed, “a motion to sever based on the

   need for exculpatory testimony of a co-defendant implicates the constitutional rights

   of the movant.” DiBernardo, 880 F.2d at 1226. And considerations of judicial economy,

   although relevant, “cannot be elevated to the point where they impair a defendant’s

   rights under the Constitution[.]” United States v. Pepe, 747 F.2d 632, 651 (11th Cir.

   1984); DiBernardo, 880 F.2d at 1228 (“[T]he teaching of Byrd v. Wainwright and its

   progeny is that judicial economy must yield to a defendant’s right to a fair trial.”).

                       d.     The Timeliness of this Motion

         The Indictment in this case was just issued last month and the case is in its

   beginning phase. Thus, the timeliness of this motion weighs in favor of granting a

   severance.




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         3.      The Procedure for Presenting the Proffer of the Markovichs’
                 Testimony

         A trial court has broad discretion to determine the method by which it will

   consider the proposed exculpatory testimony of a co-defendant. The proffer from

   counsel contained herein is sufficient. See United States v. Martinez, 486 F.2d 15, 22

   (5th Cir. 1973) (trial court accepted oral proffer of defense counsel); United States v.

   Shuford, 454 F.2d 772, 775 n.1 (4th Cir. 1971) (trial court accepted oral proffer from

   counsel for the defendant seeking a severance); see also Taylor v. Singletary, 122 F.3d

   1390, 1393 (11th Cir. 1997). An affidavit is not required. See, e.g., DiBernardo, 880

   F.2d at 1219 (trial court examined co-defendant personally); Pepe, 747 F.2d at 650

   (trial court held evidentiary hearing); United States v. Dennis, 645 F.2d 517, 521 (5th

   Cir. Unit B 1981) (co-defendant allowed to proffer testimony in chambers), overruled

   on other grds. by United States v. Lane, 474 U.S. 438 (1986); United States v. Vigil, 561

   F.2d 1316, 1317 (9th Cir. 1977) (counsel submitted affidavit describing proffered

   testimony).

         This motion was reviewed and approved by the Markovichs and their counsel.

   This is sufficient to satisfy Richard Waserstein’s burden of establishing the substance

   of their anticipated testimony at a severed trial.

                 4.    The Sequencing of the Severed Trials

         Once a court is satisfied that a severance is required, the court must then decide

   the order of the trials. Although “there is no absolute right to be tried in a certain

   order,” DiBernardo, 880 F.2d at 1229, the court must sequence the trials to further the

   purpose of the severance. Id. Here, the severance is necessary to ensure that Richard



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   Waserstein may obtain the testimony of his exculpating co-defendants, while

   accommodating their Fifth Amendment privilege. The Eleventh Circuit in DiBernardo

   made clear that, under these circumstances, Mr. Waserstein’s trial must proceed after

   the Markovichs’ trial.

         The circumstances here are exactly the scenario that unfolded in DiBernardo,

   where two defendants moved for a severance so that their co-defendant (D’Apice) could

   exculpate them at a severed trial. The trial judge granted the severance but then,

   inexplicably, ordered that the movants’ trial proceed first, during which the

   exculpating co-defendant (D’Apice) asserted his Fifth Amendment right to remain

   silent and refused to testify. Notably, the government had agreed that it would not use

   the exculpating co-defendant’s testimony against him at the later trial and the judge

   purported to grant the exculpating co-defendant “judicial use immunity” so he could

   testify at movants’ trial. DiBernardo, 880 F.2d at 1220. Nevertheless, the exculpating

   co-defendant refused to testify while his charges remained pending on the ground that

   the “immunity” provided by the court and the government was not co-extensive with

   the Fifth Amendment. The trial judge held the exculpating co-defendant in contempt

   for declining to testify at movants’ trial. Ultimately, the movants were deprived of the

   exculpating testimony of their co-defendant and were convicted.

         The exculpating co-defendant (D’Apice) successfully appealed the contempt order

   to the Eleventh Circuit, which reversed the adjudication of contempt against him,

   holding that his refusal to testify at movants’ severed trial was a valid exercise of his

   Fifth Amendment privilege, given that the charges against him remained pending.




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   United States v. D’Apice, 664 F.2d 75 (5th Cir. Unit B 1981). The Eleventh Circuit

   expressly rejected the concept of “judicial use immunity” as a mechanism to protect the

   Fifth Amendment rights of the exculpating co-defendant.

         Given the Eleventh Circuit’s decision in D’Apice, the trial judge in DiBernardo

   later granted movants a new trial, candidly acknowledging that he had erred by trying

   the movants first: “The granting of the motion to sever [the exculpating defendant]

   D’Apice gave [the movants] a partial victory; to then deprive them of D’Apice’s

   testimony by forcing them to trial before D’Apice was relieved of his Fifth Amendment

   privilege was clearly error.” DiBernardo, 880 F.2d at 1220. The Eleventh Circuit

   agreed. Ruling on the government’s appeal of the new trial order, the Eleventh Circuit

   held “it was an abuse of the trial court’s discretion to require [the movants] DiBernardo

   and Rothstein to be tried prior to [the testifying co-defendant] D’Apice without proper

   protection for the latter’s fifth amendment privilege.” DiBernardo, 880 F.2d at 1229.

         Unless the Government grants the Markovich’s direct and derivative use

   immunity under 18 U.S.C. § 6002, they have a Fifth Amendment privilege to remain

   silent and is unavailable as a witness for Richard Waserstein until his trial is

   complete. Thus, Richard Waserstein’s cannot present the Markovich brothers as

   witnesses until after all of his charges are resolved by a jury. This is the same

   procedure that Judge Gayles and Judge Cooke used in recent cases involving close

   family members. See United States v. Kerri Kaley & Brian Kaley, 07-80021-Cr-Gayles

   (severing defendants to allow for one spouse to testify at second trial of other spouse),

   United States v. Yechezkel & Tamar Nissenbaum, 16-20333-Cr-Cooke.




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                                      CONCLUSION

         To accommodate both Richard Waserstein’s Sixth Amendment right to obtain

   the Markovichs’ exculpatory testimony and the Markovichs’ Fifth Amendment right

   against self-incrimination, this Court should grant the severance and try Mr.

   Waserstein separately after the first trial is complete.

             CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1

         Pursuant to Local Rule 7.1, we conferred with Government counsel, who oppose

   the motion.

                                                    Respectfully submitted,

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